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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION


SMILEDIRECTCLUB, LLC,

          Plaintiff,
                                          Case No.: 6:20-CV-01115-ADA
     v.

CANDID CARE CO.,                          JURY TRIAL DEMANDED


          Defendants.




            DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
            COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
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I.     INTRODUCTION

       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Candid Care Co. (“Candid”) hereby moves

to dismiss Plaintiff SmileDirectClub, LLC’s (“SDC”) complaint for infringement of U.S. Patent

No. 10,861,599 (“the ’599 patent”). The relevant claims of the ’599 patent are in substance

identical to the claims of its parent U.S. Patent No. 10,636,522 (“the ’522 patent”), which the U.S.

District Court for the District of Delaware recently held invalid for lack of subject-matter eligibility

under 35 U.S.C. § 101. See SmileDirectClub, LLC v. Candid Care Co., D. Del. Case No.

1:20-cv-00583-CFC (“Delaware Lawsuit), D.I. 50 (Ex. 1).

       Each of the Fifth Circuit’s conditions for applying collateral estoppel is met. First, the

issue at stake here is identical to the one adjudicated in the Delaware Lawsuit. In the Delaware

Lawsuit, the court determined that all of the claims of the ’522 patent are invalid under § 101

because they are directed to the abstract idea of “teleorthodontics,” that is “having patients arrange

for and receive dental aligners without ever seeing a dentist or orthodontist in person,” and do not

contain any inventive concept. Id. at 15, 21-24. The invalid ’522 patent claims are in substance

identical to the ’599 patent claims asserted here, with any differences being superficial and

immaterial to the issue of subject matter eligibility. That this is so is evident from the words of

the claims, and from SDC’s own words, who told the Delaware court that the two patents have

“very, very similar, if not identical claims.” Delaware Lawsuit, D.I. 29 (Ex. 2) at 12:5-18.

       Second, the § 101 validity issue was actually litigated in the Delaware Lawsuit, with both

parties having briefed the issue and presented arguments to the court.

       Third, the Delaware court’s determination that the ’522 patent claims are invalid under

§ 101 was a necessary part of the court’s judgment. Indeed, it was the sole basis for dismissing

SDC’s complaint.




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II.    BACKGROUND

       A.        The Parties

       SDC and Candid are competitors in the teleorthodontics business. Both companies provide

personalized clear aligners direct to consumers without requiring an in-person visit with a dentist

or orthodontist.    The aligners are made for self-insertion by the consumer to straighten and

reposition teeth. Both parties offer consumers the ability to have intraoral scans of their mouths

taken at various locations around the country. SDC calls these locations “SmileShops”; Candid

calls them “Studios.” The intraoral scans generate three-dimensional, digital representations of

the consumer’s mouth, which are used to create a personalized treatment plan and produce the

aligners.

       B.        The ’522 Patent And The Prior Delaware Lawsuit

       On April 28, 2020, SDC obtained the ’522 patent for its SmileShop concept.

See ’522 patent (Ex. 3) at cover page. The ’522 patent contains 30 claims, every one of which is

directed to the abstract idea of “teleorthodontics,” that is “having patients arrange for and receive

dental aligners without ever seeing a dentist or orthodontist in person.” Delaware Lawsuit, D.I. 50

(Ex. 1) at 15.

       On April 29, 2020, SDC filed the Delaware Lawsuit against Candid, asserting that Candid’s

Studio business model infringes the ’522 patent. See Delaware Lawsuit, D.I. 1. Candid moved to

dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which

relief can be granted because the claims of the ’522 patent are invalid under 35 U.S.C. § 101 as

directed to patent-ineligible subject matter. See Delaware Lawsuit, D.I. 12, 13. SDC opposed

Candid’s motion to dismiss. See Delaware Lawsuit, D.I. 17. After briefing on Candid’s motion

was closed, SDC submitted what it styled a “Notice of Supplemental Authority,” to advise the

court that the U.S. Patent and Trademark Office (“USPTO”) had “issued a Notice of Allowance


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for U.S. Patent Application No. 16,859,950 (‘the ’950 application’), which is a continuation of the

patent-in-suit.” Delaware Lawsuit, D.I. 21. This ’950 application later would issue as the

’599 patent, which is the subject of this lawsuit.

       About six months after SDC filed the Delaware Lawsuit and while Candid’s motion to

dismiss was pending, SDC filed a motion for a preliminary injunction. See Delaware Lawsuit,

D.I. 22. SDC argued the § 101 issue again in its supporting brief. See Delaware Lawsuit, D.I. 23

(Ex. 4) at 10-12. Among other things, SDC argued that the court should find the ’522 patent claims

eligible under § 101 because the USPTO “recently granted SDC’s U.S. Application

No. 16/859,950 (‘the ’950 application’), a continuation of the ’522 patent that contains

substantially similar claims to those asserted here.” Id. at 11-12. SDC also represented to the

Delaware court that it would be adding its new patent to the Delaware Lawsuit upon issuance, and

argued that its plan to do so “further exemplif[ied] the need for an injunction.” Id. at 12 n.1.

       On November 4, 2020, the Delaware court held a telephonic hearing to discuss Candid’s

motion to dismiss and SDC’s preliminary injunction motion. See Delaware Lawsuit, D.I. 29

(Ex. 2). The § 101 issue was argued at length during that conference. See id. at 6:10-8:18,

10:5-12:25, 14:15-19:4, 22:21-23:18, 24:9-26:21. At one point during the hearing , the court

remarked that the ’522 patent “is by far, of all the patents I have come across, the one that strikes

me as suspect,” and that it found it “really hard to understand how this patent is an allowed patent.”

Id. at 10:10-13. In defense of its patent, SDC again pointed to the USPTO’s allowance of the

’950 application, telling the court that the ’522 patent and the ’950 application have “very, very

similar if not identical claims.” Id. at 12:5-18.

       On December 7, 2020, the Delaware court issued a detailed written opinion finding all of

the ’522 patent claims invalid under § 101. See Delaware Lawsuit, D.I. 50 (Ex. 1). The Delaware




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court concluded that all of the ’522 patent claims are directed to the abstract idea of

“teleorthodontics,” that is “having patients arrange for and receive dental aligners without ever

seeing a dentist or orthodontist in person.” Id. at 15. Having determined that the claims are

directed to an abstract idea, the court next searched the claims for an inventive concept and found

none. Id. at 21-24. The court found that the claims merely involve “routine scanning technology,

generic computers, and routine communication technology” and a “conventional” manufacturing

process. Id. at 22-23. The court determined that it was appropriate to adjudicate the § 101 issue

on a motion to dismiss, rejecting SDC’s argument that fact discovery was required because “the

patent itself explains that the technology used in the claimed workflow was routine or well-

understood.” Id. at 13. The court also considered and rejected SDC’s argument that claim

construction was necessary to clarify the scope and meaning of the claims, finding that “SDC has

not established that a claim construction issue affects the subject matter eligibility analysis.” Id.

at 13-14. Accordingly, the court held all of the ’522 patent claims invalid for lack of subject-

matter eligibility under § 101 and on that basis dismissed SDC’s complaint. Id. at 24; see also

D.I. 51 (order dismissing the Delaware Lawsuit).

       C.      The ’599 Patent And The Present Lawsuit

       On December 8, 2020, the ’950 application that SDC relied on during the Delaware

Lawsuit issued as the ’599 patent. ’599 patent (Ex. 5) at cover page. The’599 patent claims, as

described by SDC, are “very, very similar, if not identical,” to the ’522 patent claims that the

Delaware court found invalid for lack of subject-matter eligibility under § 101. Delaware Lawsuit,

D.I. 29 (Ex. 2) at 12:5-18; see also Delaware Lawsuit, D.I. 23 (Ex. 4) at 11-12 (“The USPTO

recently granted SDC’s U.S. Application No. 16/859,950 (“the ’950 application”), a continuation

of the ’522 patent that contains substantially similar claims to those asserted here. … For instance,




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claim 20 of the ’950 application and claim 1 of the ’522 patent both claim the near identical

methods for producing aligners.”) (citations and footnote omitted).

       With the ink barely dry on the Delaware court’s opinion finding all of the ’522 patent

claims invalid under § 101, SDC filed the present lawsuit against Candid on December 8, 2020.1

SDC’s complaint alleges that Candid’s Studio business model infringes “at least” claim 16 of the

’599 patent. D.I. 1 at ¶¶ 53, 58.

III.   APPLICABLE LAW

       A.      Rule 12(b)(6) Standard

       A court may dismiss an action that fails to state a claim upon which relief may be granted.

Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

       In deciding a motion to dismiss, a court may take judicial notice of prior court proceedings

and matters of public record.             See Rodriguez v. JPMorgan Chase Bank, N.A.,

No. SA-16-CV-410-XR, 2016 WL 4507388, at *2 (W.D. Tex. Aug. 26, 2016) (taking judicial

notice of a prior court decision and granting motion dismiss on collateral estoppel grounds).

Indeed, a court “must take judicial notice if a party requests it and the court is supplied with the

necessary information.” Fed. R. Evid. 201(c)(2). Candid requests that this Court take judicial

notice of the patents, orders, opinions, and filings cited herein.


1
  As noted above, during the Delaware Lawsuit, SDC told Candid and the court that it would be
adding the ’599 patent to the Delaware Lawsuit upon issuance. Delaware Lawsuit, D.I. 23
(Ex. 4) at 12 n.1. After the invalidity decision, SDC changed course and filed this suit in the
Western District of Texas, no doubt hoping that a change in venue might produce a different
result. Filing this suit was blatant forum-shopping, so on December 23, 2020, Candid filed a
declaratory judgment action involving the ’599 patent against SDC in Delaware. See Candid
Care Co. v. SmileDirectClub, LLC, D. Del. Case No. 1:20-cv-01764, D.I. 1.


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       B.      Collateral Estoppel

       “Collateral estoppel protects a party from having to litigate issues that have been fully and

fairly tried in a previous action and adversely resolved against a party-opponent.” Ohio Willow

Wood Co. v. Alps South, LLC, 735 F.3d 1333, 1342 (Fed. Cir. 2013). The purpose of the doctrine

is to “relieve parties of the cost and vexation of multiple lawsuits, conserve judicial resources, and,

by preventing inconsistent decisions, encourage reliance on adjudication.” Allen v. McCurry,

449 U.S. 90, 94 (1980).

       In the patent context, “where a patent has been declared invalid in a proceeding in which

the ‘patentee has had a full and fair chance to litigate the validity of his patent,’ the patentee is

collaterally estopped from relitigating the validity of the patent.” Mississippi Chem. Corp. v. Swift

Agric. Chems. Corp., 717 F.2d 1374, 1376 (Fed. Cir. 1983) (quoting Blonder-Tongue Labs., Inc.

v. Univ. of Ill. Found., 402 U.S. 313, 333 (1971)) (internal citation omitted). In addition to cases

involving the same patent, collateral estoppel bars relitigating the same issues of validity with

respect to a different, related patent. Ohio Willow Wood, 735 F.3d at 1342. For collateral estoppel

to apply, the patent claims need not be identical, so long as “the differences between the

unadjudicated patent claims and adjudicated patent claims do not materially alter the question of

invalidity.” Id. On at least two occasions, courts have applied collateral estoppel on the pleadings

to bar the assertion of a patent with claims similar to those of a different patent that were previously

held invalid under 35 U.S.C. § 101 as directed to patent-ineligible subject matter. See, e.g.,

NetSoc, LLC v. Oath Inc., No. 18-CV-12267 (RA), 2020 WL 419469, at *1-9 (S.D.N.Y.

Jan. 24, 2020) (granting a motion to dismiss on collateral estoppel grounds); Joao Control &

Monitoring Sys., LLC v. Digital Playground, Inc., Nos. 12-cv-6781 (RJS), 12-cv-7734 (RJS), 2016

WL 5793745, at *4-5 (S.D.N.Y. Sept. 30, 2016) (granting a motion for judgment on the pleadings

on collateral estoppel grounds).


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        Although Federal Circuit law applies to issues unique to patents, regional circuit law is

controlling for procedural issues like collateral estoppel. Dana v. E.S. Originals, Inc., 342 F.3d

1320, 1323 (Fed. Cir. 2003). Under Fifth Circuit law, collateral estoppel, also known as issue

preclusion, precludes a party from litigating an issue already raised in an earlier action between

the same parties if: (1) the issue at stake is identical to the one involved in the prior action; (2) the

issue was actually litigated in the prior action; and (3) the determination of the issue in the prior

action was a necessary part of the judgment in that action. RecoverEdge L.P. v. Pentecost, 44 F.3d

1284, 1290 (5th Cir. 1995); Sheerin v. Davis, 3 F.3d 113, 114 (5th Cir. 1993).2 To the extent a

collateral estoppel determination involves a substantive issue of patent law, such as whether two

patent claims are sufficiently similar so as to present the same issue, Federal Circuit law applies.

Ohio Willow Wood, 735 F.3d at 1342.

        The issue of whether to apply collateral estoppel is a question of law, Bradberry, 732 F.3d

at 549, and is appropriately decided on a motion to dismiss. See, e.g., NetSoc, 2020 WL 419469,

at *1 (granting a motion to dismiss on collateral estoppel grounds because similar claims of a

different patent were previously held invalid under § 101); Arunachalam v. Exxon Mobil Corp.,

No. 6:19-CV-00171-ADA, 2019 WL 10303695, at *1 (W.D. Tex. June 26, 2019) (granting a

motion to dismiss on collateral estoppel grounds where the asserted patent contained claims similar

to previously invalidated claims of related patents); Allergan, Inc. v. Apotex, Inc.,


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  A fourth element—that there are no special circumstances that would render estoppel
inappropriate or unfair—applies only to the use of offensive (non-mutual) collateral estoppel by
the plaintiff. Bradberry v. Jefferson County, Tex., 732 F.3d 540, 548 (5th Cir. 2013); Kariuki v.
Tarango, 709 F.3d 495, 506 (5th Cir. 2013). That element is not applicable here because Candid
is invoking the doctrine defensively based on a prior decision in a case that involved both Candid
and SDC. Even if the fourth element were applicable here, there are no special circumstances
that would render estoppel inappropriate or unfair, as the prior invalidity determination was
made by the court of SDC’s own choosing and SDC had every incentive and opportunity to
make its case.


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No. 1:14-CV-1028, 2015 WL 13358250, at *1 (M.D.N.C. Aug. 31, 2015) (granting a motion to

dismiss on collateral estoppel grounds where different patents with substantially similar claims

were previously found invalid for obviousness), aff’d in relevant part sub nom. Allergan, Inc. v.

Sandoz, Inc., 681 Fed. Appx. 955 (Fed. Cir. 2017).

       “[T]he collateral estoppel effect of a prior district court decision is not affected by the fact

that an appeal has been taken from the decision.” DietGoal Innovations, LLC v. Chipotle Mexican

Grill, Inc., 70 F. Supp. 3d 808, 812 (E.D. Tex. 2014); see also Pharmacia & Upjohn Co. v. Mylan

Pharms., Inc., 170 F.3d 1373, 1380-81 (Fed. Cir. 1999); Prager v. El Paso Nat’l Bank, 417 F.2d

1111, 1112 (5th Cir. 1969).3

IV.    ARGUMENT

       A.      Collateral Estoppel Bars SDC From Asserting At Least Claims 16-25 Of The
               ’599 Patent

       SDC’s claim of infringement of at least claims 16-25 of the ’599 patent is barred by the

Delaware court’s determination that all of the ’522 patent claims are invalid under 35 U.S.C. § 101

as directed to a patent-ineligible abstract idea.4 As set forth below, the § 101 validity issue is

identical to the one adjudicated in the Delaware Lawsuit, the § 101 validity issue was actually

litigated in the Delaware Lawsuit, and the determination of the § 101 validity issue in the Delaware

Lawsuit was a necessary part of the Delaware court’s judgment.




3
 SDC has appealed the Delaware court’s final judgment dismissing its complaint. The appeal
was docketed on December 22, 2020 (Federal Circuit Docket No. 2021-1446), and SDC’s
opening appeal brief is due on February 22, 2021.
4
 Claims 1-15 also are barred by collateral estoppel, but, as discussed in section IV.B., SDC’s
complaint does not allege infringement of any of those claims.


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                1.      The § 101 Validity Issue Here Is Identical To The One Adjudicated In
                        The Delaware Lawsuit

        The Delaware court analyzed the claims of the ’522 patent under the Alice two-step

framework, which first asks whether the patent’s claims are drawn to a patent-ineligible concept,

and, if the answer is yes, next asks whether the claims contain an inventive concept. Delaware

Lawsuit, D.I. 50 (Ex. 1) at 8 (citing Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 217-18

(2014)). The Delaware court concluded that all of the ’522 patent claims are directed to the abstract

idea of “teleorthodontics,” that is “having patients arrange for and receive dental aligners without

ever seeing a dentist or orthodontist in person.” Id. at 15. Having determined that the claims are

directed to an abstract idea, the court next searched the claims for an inventive concept and found

none. Id. at 21-24. Accordingly, the court held that all of the ’522 patent claims are invalid for

lack of subject-matter eligibility under 35 U.S.C. § 101 and on that basis dismissed SDC’s

complaint. Id. at 24.

        The Delaware court’s invalidity determination and reasoning apply equally to claims 16-25

of the ’599 patent. Claims 16-25 of the ’599 patent are substantively identical to invalid claims

1-10 of the ’522 patent and the superficial differences between the two sets of claims are

immaterial to the issue of patent eligibility.

        SDC itself has admitted that the two sets of claims are substantively identical. In seeking

a preliminary injunction in the Delaware Lawsuit, SDC argued that the court should find the

’522 patent claims eligible under § 101 because the USPTO “recently granted SDC’s U.S.

Application No. 16/859,950 (‘the ’950 application’), a continuation of the ’522 patent that contains

substantially similar claims to those asserted here.” Delaware Lawsuit, D.I. 23 (Ex. 4) at 11-12.

During oral arguments before the Delaware court, SDC again represented that the ’522 patent

claims are “very, very similar, if not identical,” to the ’599 patent claims. Delaware Lawsuit,



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D.I. 29 (Ex. 2) at 12:5-18; see also NetSoc, 2020 WL 419469, at *8 (finding collateral estoppel

based on a prior invalidity finding under § 101 where the plaintiff represented that two patents are

“highly related” and the adjudicated and unadjudicated claims share “extreme similarity”).

        Consistent with SDC’s representations to the Delaware court, a side-by-side comparison

of claims 16-25 of the ’599 patent to invalid claims 1-10 of the ’522 patent confirms that they are

in substance identical. See Ex. 6 (comparing claims 16-25 of the ’599 patent to corresponding

invalid claims 1-10 of the ’522 patent); Bourns, Inc. v. United States, 537 F.2d 486, 493

(Ct. Cl. 1976) (“To assess the identity of … issues, it is convenient to compare the adjudicated and

unadjudicated claims.”). In the following table claim 16 of the ’599 patent is on the left, invalid

claim 1 of the ’522 patent is in the middle, and a redline comparison showing how little claim 16

differs from claim 1 is on the right.

 ’599 Claim 16                        ’522 Claim 1                         Redline Comparison
 Preamble
 16. A method of producing            1. A method of producing             116. A method of producing
 aligners for repositioning one or    aligners for repositioning one or    aligners for repositioning one or
 more teeth of a user, the method     more teeth of a user, the method     more teeth of a user, the method
 comprising:                          comprising:                          comprising:
 Limitation [1]
 receiving, by an appointment         receiving, by an appointment         receiving, by an appointment
 management system, a request         management system, a request         management system, a request
 to schedule an appointment at        to schedule an appointment at        to schedule an appointment at
 an intraoral scanning site, the      an intraoral scanning site, the      an intraoral scanning site, the
 intraoral scanning site having an    intraoral scanning site having an    intraoral scanning site having an
 intraoral scanner configured to      intraoral scanner configured to      intraoral scanner configured to
 scan a mouth of a user, the          scan a mouth of a user, the          scan a mouth of a user, the
 appointment being for a              appointment being for a              appointment being for a
 technician to conduct an             technician to conduct an             technician to conduct an
 intraoral scan of the mouth of       intraoral scan of the mouth of       intraoral scan of the mouth of
 the user at the intraoral scanning   the user at the intraoral scanning   the user at the intraoral scanning
 site without a dentist or            site without a dentist or            site without a dentist or
 orthodontist physically seeing       orthodontist physically seeing       orthodontist physically seeing
 the user during the scheduled        the user during the scheduled        the user during the scheduled
 appointment;                         appointment, wherein the             appointment, wherein the
                                      technician is not a dentist or an    technician is not a dentist or an
                                      orthodontist;                        orthodontist;




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Limitation [2]
scheduling, by the appointment       scheduling, by the appointment       scheduling, by the appointment
management system, the               management system, the               management system, the
appointment at the intraoral         appointment at the intraoral         appointment at the intraoral
scanning site based on the           scanning site in accordance with     scanning site in accordance
request;                             the request;                         withbased on the request;
Limitation [3]
generating and causing               generating and communicating,        generating and
transmission of, by the              by the appointment management        communicatingcausing
appointment management               system, a message to a device of     transmission of, by the
system, a message to a device of     the user, the message including      appointment management
the user, the message including      a confirmation confirming the        system, a message to a device of
a confirmation confirming the        scheduled appointment;               the user, the message including
scheduled appointment;                                                    a confirmation confirming the
                                                                          scheduled appointment;
Limitation [4]
conducting, using the intraoral      conducting, using the intraoral      conducting, using the intraoral
scanner, the intraoral scan at the   scanner, the intraoral scan at the   scanner, the intraoral scan at the
intraoral scanning site during       intraoral scanning site during       intraoral scanning site during
the scheduled appointment, the       the scheduled appointment, the       the scheduled appointment, the
intraoral scan generating three-     intraoral scan generating three-     intraoral scan generating three-
dimensional data of the mouth        dimensional data of the mouth        dimensional data of the mouth
of the user;                         of the user;                         of the user;
Limitation [5]
causing generation of, by a          causing generation, by a             causing generation of, by a
treatment plan computing             treatment plan computing             treatment plan computing
system located at a treatment        system located at a treatment        system located at a treatment
plan site, a treatment plan for      plan site, of a treatment plan for   plan site, of a treatment plan for
the user based on the three-         the user based on the three-         the user based on the three-
dimensional data;                    dimensional data of the mouth        dimensional data of the mouth
                                     of the user;                         of the user;
Limitation [6]
receiving an indication of an        receiving an indication of an        receiving an indication of an
approval of the treatment plan       approval of the treatment plan       approval of the treatment plan
by a dentist or an orthodontist,     by a dental or orthodontic           by a dentaldentist or orthodontic
wherein the approval is received     professional, wherein the            professionalan orthodontist,
without the approving dentist or     approval is received without the     wherein the approval is received
orthodontist having physically       dental or orthodontic                without the dentalapproving
seen the user;                       professional having physically       dentist or orthodontic
                                     seen the user;                       professionalorthodontist having
                                                                          physically seen the user;




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 Limitation [7]
 producing, at a fabrication site,    producing, at a fabrication site,    producing, at a fabrication site,
 a plurality of aligners based on     a plurality of aligners based on     a plurality of aligners based on
 the treatment plan, the plurality    the treatment plan, the plurality    the treatment plan, the plurality
 of aligners specific to the user     of aligners specific to the user     of aligners specific to the user
 and being configured to              and being configured to              and being configured to
 reposition one or more teeth of      reposition one or more teeth of      reposition one or more teeth of
 the user in accordance with the      the user in accordance with the      the user in accordance with the
 treatment plan; and                  treatment plan; and                  treatment plan; and
 Limitation [8]
 sending the plurality of aligners    sending the plurality of aligners    sending the plurality of aligners
 from the fabrication site directly   from the fabrication site directly   from the fabrication site directly
 to the user, wherein the user        to the user, wherein the user        to the user, wherein the user
 receives orthodontic treatment       receives orthodontic treatment       receives orthodontic treatment
 without ever having physically       without ever having physically       without ever having physically
 seen the approving dentist or        seen the approving dental or         seen the approving dentaldentist
 orthodontist.                        orthodontic professional.            or orthodontic
                                                                           professionalorthodontist.

        The differences between claim 16 of the ’599 patent and invalid claim 1 of the ’522 patent

are nominal and are wholly immaterial to the § 101 issue:

           Limitation [1] differs slightly in that claim 1 of the ’522 patent recites that the

            technician who conducts the intraoral scan of the user’s mouth is not a dentist or

            orthodontist. Although claim 16 of the ’599 patent does not include this language,

            claim 16 does recite that no dentist or orthodontist physically sees the user during the

            scanning appointment. Necessarily then, claim 16 precludes the technician who

            conducts the intraoral scan from being a dentist or orthodontist.

           Limitations [2] and [3] differ only in word choice (“based on” vs. “in accordance with”

            and “causing transmission of” vs. “communicating”), not substance.

           In limitation [5] an “of” is moved and “of the mouth of the user” is deleted, but these

            changes do not alter the scope of claim 16 relative to claim 1. Previous limitation [4]




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             makes clear that “the three-dimensional data” recited in limitation [5] is “of the mouth

             of the user.”

            Finally, with respect to limitations [6] and [8], “dental or orthodontic professional” in

             claim 1 of the ’522 patent is changed to “dentist or orthodontist” in claim 16 of the

             ’599 patent.      Whether the approver is a dentist/orthodontist or another

             dental/orthodontic professional is immaterial to the § 101 eligibility question. Either

             way, the abstract idea (teleorthodontics, i.e., having patients arrange for and receive

             dental aligners without ever seeing a dentist or orthodontist in person) is the same and

             requiring   the   approver   to   be    a     dentist/orthodontist   rather   than another

             dental/orthodontic professional does not supply an inventive concept.

        The differences between dependent claims 17-25 of the ’599 patent and dependent claims

2-10 of the ’522 patent are similarly superficial and immaterial to the § 101 eligibility question.

See Ex. 6.

        Claims 16-25 of the ’599 patent are directed to the same abstract idea that the Delaware

court found claims 1-10 of the ’522 patent are directed to, namely, “teleorthodontics,” i.e., “having

patients arrange for and receive dental aligners without ever seeing a dentist or orthodontist in

person.” Delaware Lawsuit, D.I. 50 (Ex. 1) at 15. Further, claims 16-25 of the ’599 patent do not

contain anything of substance—much less an inventive concept—above and beyond what is

recited in claims 1-10 of the ’522 patent. For these reasons, the § 101 validity issue here is identical

to the one involved in the prior Delaware Lawsuit.

        There is ample precedent for applying collateral estoppel to bar the assertion of a patent

that was not itself previously held invalid.             See Ohio Willow Wood, 735 F.3d at 1342

(“Our precedent does not limit collateral estoppel to patent claims that are identical. Rather, it is




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the identity of the issues that were litigated that determines whether collateral estoppel should

apply. If the differences between the unadjudicated patent claims and adjudicated patent claims

do not materially alter the question of invalidity, collateral estoppel applies.”) (citations omitted).

Courts have done so on various invalidity grounds, including prior adjudications of invalidity

under 35 U.S.C. §§ 101, 103, and 112. See, e.g., id. at 1342-43 (obviousness); Amgen, Inc. v.

Genetics Inst., Inc., 98 F.3d 1328, 1332 (Fed. Cir. 1996) (lack of enablement); Speedfit LLC v.

Chapco Inc., 2020 WL 5633101, at *7-12 (E.D.N.Y. Sept. 21, 2020) (on-sale bar); NetSoc,

2020 WL 419469, at *1-9 (patent-ineligible subject matter under § 101); Arunachalam,

2019 WL 10303695, at *1-4 (indefiniteness, lack of enablement, and lack of written description);

Fellowes, Inc. v. ACCO Brands Corp., 2019 WL 1762910, at *2-8 (N.D. Ill. Apr. 22, 2019)

(obviousness); Joao, 2016 WL 5793745, at *1-5 (patent-ineligible subject matter under § 101);

Allergan, 2015 WL 13358250, at *1-3 (obviousness); Tyco Healthcare Group LP v. Applied Med.

Res. Corp., No. 9:09-CV-176, 2013 WL 4757948, at *1-4 (E.D. Tex. Sept. 4, 2013) (obviousness);

Abbvie Inc. v. Kennedy Trust for Rheumatology Research, No. 13 Civ. 1358 (PAC), 2014 WL

3360722, at *1-8 (S.D.N.Y. July 9, 2014) (double patenting); Orenshteyn v. IBM, Corp.,

979 F. Supp. 2d 448, 453-54 (S.D.N.Y. 2013) (invalidity over prior art).

       The recent NetSoc decision is particularly on point. There, the plaintiff initially sued the

defendant for infringement of the ’107 patent. NetSoc, 2020 WL 419469, at *1. The plaintiff

thereafter filed an amended complaint asserting infringement of a different patent, the ’591 patent.

Id. The plaintiff justified the amendment by “by explaining that ‘the ’107 patent is a continuation

application of the application that issues as the ’591 patent’ and that the amendment is ‘no surprise

as both the ’107 patent and the ’591 patent are highly related.’” Id. The plaintiff also argued there

is “extreme similarity in the independent Claim 1 of the ’107 patent as compared to the




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’591 patent.” Id. Shortly after filing the amended complaint, another court (the Northern District

of Texas) held the ’107 patent claims invalid under 35 U.S.C. § 101 as directed to a patent-

ineligible abstract idea. Id. at *2. The defendant moved to dismiss the amended complaint on the

ground that collateral estoppel bars the plaintiff from asserting infringement of the ’591 patent,

and further because the ’591 patent claims are invalid under § 101. Id.

       Without reaching the merits of the § 101 issue, the court granted the defendant’s motion to

dismiss on collateral estoppel grounds. Id. at *9. The plaintiff conceded that the Northern District

of Texas actually decided the § 101 validity issue, that the plaintiff had a full and air opportunity

to litigate the issue in the Northern District of Texas, and that the § 101 issue was a necessary part

of the Northern District of Texas’s final judgment dismissing the case. Id. at *4. The only question

was whether the issues in both proceedings are identical. Id. at *5. The court looked to Federal

Circuit law, finding that the question is not whether the claims of the two patents are identical, but

rather whether the two sets of claims are “substantially similar” such that the Northern District of

Texas’s invalidity analysis would not be materially altered. Id. The court concluded that the

claims were substantially similar, based on its own comparison of the claims and the plaintiff’s

prior statements about how the ’107 and ’591 patents are “highly related” and have claims that

share “extreme similarity.” Id. *5-8.

       Here, as in NetSoc, the ’522 and ’599 patent claims are substantially similar such that the

Delaware court’s § 101 invalidity analysis applies with equal force to the ’599 patent claims. As

in NetSoc, SDC has made admissions about the similarity of the claims in an attempt to advance

its own interests. If anything, the facts of the present case are even more compelling than those in




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NetSoc because there were at least colorable differences between the claims of the ’107 and

’591 patents at issue in that case. See id. at *6-7. Here, the differences are minimal and superficial.

               2.      The § 101 Validity Issue Was Actually Litigated In The Delaware
                       Lawsuit

       The patent eligibility issue was fully and fairly litigated in the Delaware Lawsuit. Candid

filed a motion to dismiss SDC’s complaint on the sole ground that the claims of the ’522 are invalid

under 35 U.S.C. § 101 as directed to a patent-ineligible abstract idea. See Delaware Lawsuit, D.I.

12, 13. SDC filed a brief in opposition to Candid’s motion. See Delaware Lawsuit, D.I. 17. SDC

followed up its opposition brief with a notice of supplemental authority, citing the USPTO’s

allowance of its ’950 application (which issued as the ’599 patent at issue here). See Delaware

Lawsuit, D.I. 21. SDC argued the § 101 issue yet again in its brief in support of its motion for a

preliminary injunction. See Delaware Lawsuit, D.I. 23 (Ex. 4) at 10-12. Finally, the § 101 issue

was argued during a conference before the Delaware court on November 4, 2020. See Delaware

Lawsuit, D.I. 29 (Ex. 2) at 6:10-8:18, 10:5-12:25, 14:15-19:4, 22:21-23:18, 24:9-26:21.

       The Delaware court thereafter issued a detailed written opinion explaining why the

’522 patents are invalid under the Alice two-step framework. See Delaware Lawsuit, D.I. 50 (Ex.

1). The court acknowledged SDC’s arguments but found them unpersuasive. This included a

consideration and rejection of SDC’s arguments that fact discovery and claim construction were

required before the § 101 issue could be adjudicated. Id. at 13-14.

       SDC had every incentive and opportunity to make its case for patent eligibility before the

court of its own choosing and lost. Just because SDC may regret its original choice of venue and

disagree with the Delaware court’s invalidity determination does not defeat collateral estoppel.

See Intellectual Ventures I LLC v. Capital One Fin. Corp., 937 F.3d 1359, 1379 (Fed. Cir. 2019)

(“A collateral estoppel determination is based on what the prior court ruled, and the prior court’s



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ruling cannot be dissected to determine whether it was somehow based on an incorrect legal or

factual basis.”); Pharmacia, 170 F.3d at 1380 (holding that the inquiry into whether the plaintiff

was afforded a full opportunity to litigate is “quite narrow” and does not consider “whether the

prior finding of invalidity was correct”).

               3.      The Determination Of The § 101 Validity Issue In The Delaware
                       Lawsuit Was A Necessary Part Of The Delaware Court’s Judgment

       The Delaware court’s determination that all of the claims of the ’522 patent are invalid

under 35 U.S.C. § 101 as directed to a patent-ineligible abstract idea was a necessary part of the

court’s judgment in that action. Indeed, it was the sole basis for dismissing SDC’s complaint.

Accordingly, this element is met.

       B.      SDC’s Complaint Does Not Allege Infringement Of Claims 1-15 Of The
               ’599 Patent

       Collateral estoppel similarly bars SDC from asserting claims 1-15 of the ’599 patent, but

the Court need not reach that issue in order to grant Candid’s motion to dismiss because SDC’s

complaint does not allege infringement of any of those claims. SDC’s complaint identifies only

one specific claim—independent claim 16—as being allegedly infringed by Candid. See D.I. 1

at ¶ 53 (“Therefore, Candid at least directly infringes claim 16 of the ’599 patent ….”), ¶ 58

(“Candid makes, uses, sells, and/or offers for sale methods and systems that directly infringe, either

literally or under the doctrine of equivalents, one or more claims of the ’599 patent, including at

least independent claim 16 ….”). Further, SDC’s complaint only purports to map Candid’s Studio

workflow to the limitations of claim 16. See D.I. 1 at ¶¶ 40-53. Every other claim of the ’599

patent includes one or more limitations that are not present in claim 16. For example, the other

independent claims each require reminding the user to leave for the scheduled appointment a

threshold time prior to the appointment based on the location of the user with respect to the

scanning site and at least one of traffic, weather, time of day, or day of the week. See ’599 patent


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(Ex. 5) at claims 1, 8, 12. SDC’s complaint does not allege that Candid practices the “reminder”

limitation or any other limitations beyond those recited in claim 16. SDC’s complaint therefore

fails to plausibly allege infringement of any claims other than claim 16, which SDC cannot assert

due to collateral estoppel. See Estech Sys., Inc. v. Regions Fin. Corp., No. 6:20-cv-00322-ADA,

2020 WL 6324321, at *2 (W.D. Tex. Oct. 28, 2020) (“[T]he pleading standards established by

Twombly and Iqbal require a plausible inference that an accused device meets all of the limitations

of the asserted claims.”); De La Vega v. Microsoft Corp., Nos. W-19-CV-00612-ADA,

W-19-CV-00617-ADA, 2020 WL 3528411, at *6-7 (W.D. Tex. Feb. 7, 2020) (dismissing a

complaint for failure to state a claim upon which relief can be granted where the complaint did not

allege how a “coupling” limitation is met).

V.     CONCLUSION

       Because the only infringement allegations in SDC’s complaint are barred by collateral

estoppel, SDC’s complaint should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).




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Dated: January 4, 2021                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on January 4, 2021.




                                                           /s/ Andrea L. Fair




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